3/25/2018                                                        Missouri Western Civil Cover Sheet

  JS 44 (Rev 09/10)


                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF MISSOURI
                                                         CIVIL COVER SHEET
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the Western District of Missouri.

  The completed cover sheet must be saved as a pdf document and filed as an attachment to the Complaint
  or Notice of Removal.

  Plaintiff(s):                                                                                            Defendant(s):
  First Listed Plaintiff:                                                                                  First Listed Defendant:
  RightCHOICE Managed Care, Inc.                                                                           Hospital Partners, Inc. ;
  County of Residence: City of St. Louis

  Additional Plaintiff(s):                                                                                County of Residence: Outside This
                                                                                                          District
  Blue Cross of California, Inc. d/b/a Anthem Blue Cross
  Anthem Blue Cross Life and Health Insurance Company                                                     Additional Defendants(s):
  Rocky Mountain Hospital and Medical Service, Inc. d/b/a Anthem Blue Cross and Blue Shield               Hospital Partners, Inc.; Hospital
                                                                                                          Laboratory Partners, LLC; RAJ
  Anthem Health Plans, Inc. d/b/a Anthem Blue Cross and Blue Shield                                       Enterprises of Central Florida, LLC
  Blue Cross and Blue Shield of Georgia, Inc.                                                             d/b/a Pinnacle Laboratory Services;
  Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.                                                 LifeBrite Laboratories, LLC;
                                                                                                          Empower H.I.S. LLC; David Byrns;
  Anthem Insurance Companies, Inc. d/b/a Anthem Blue Cross and Blue Shield
                                                                                                          and Jorge Perez
  Anthem Health Plans of Kentucky, Inc. d/b/a Anthem Blue Cross and Blue Shield
  Anthem Health Plans of Maine, Inc. d/b/a Anthem Blue Cross and Blue Shield
  Healthy Alliance Life Insurance Company
  HMO Missouri, Inc.
  Anthem Health Plans of New Hampshire, Inc. d/b/a Anthem Blue Cross and Blue Shield
  Empire HealthChoice Assurance, Inc. d/b/a Empire Blue Cross and Blue Shield
  Community Insurance Company d/b/a Anthem Blue Cross and Blue Shield
  Anthem Health Plans of Virginia, Inc. d/b/a Anthem Blue Cross and Blue Shield
  HMO Healthkeepers, Inc. d/b/a Anthem Blue Cross and Blue Shield
  Blue Cross Blue Shield of Wisconsin d/b/a Anthem Blue Cross and Blue Shield
  Compcare Health Services Insurance Corporation d/b/a Anthem Blue Cross and Blue Shield
  County Where Claim For Relief Arose: Putnam County
  Plaintiff's Attorney(s):                                                                            Defendant's Attorney(s):
  Neal F. Perryman (Counsel for all Plaintiffs)
  Michael L. Jente (Counsel for all Plaintiffs
  Lewis Rice
  600 Washington Avenue, Suite 2500
  St. Louis, Missouri 63101
  Phone: (314) 444-7600
  Fax: (314) 612-7600
; Email: nperryman@lewisrice.com



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 3/25/2018                                                                         Missouri Western Civil Cover Sheet




   Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

   Citizenship of Principal Parties (Diversity Cases Only)

     Plaintiff: N/A
     Defendant: N/A

   Origin: 1. Original Proceeding

    Nature of Suit: 370 Fraud Actions
Cause of Action: Fraud and Fraudulent Concealment; Negligent Misrepresentation; Restitution under ERISA
§ 502(a)(3); Declaratory and Injunctive Relief under ERISA § 502(a)(3) and 28 U.S.C. §§ 2201 and 2202;
Tortious Interference with Contract; Civil Conspiracy; Aiding and Abetting a Tort; Unjust Enrichment
    Requested in Complaint


   Class Action: Not filed as a Class Action
   Monetary Demand (in Thousands): $64,000,000-plus
   Jury Demand: Yes
   Related Cases: Is NOT a refiling of a previously dismissed action




   Signature: /s/ Neal F. Perryman

    Date: 3/30/2018
             If any of this information is incorrect, please close this window and go back to the Civil Cover Sheet Input form to make the correction and generate the updated
             JS44. Once corrected, print this form, sign and date it, and submit it with your new civil action.




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